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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
v. Case No; 21-cr-56 (CKK)
WILLIAM VOGEL,
Defendant,
STATEMENT OF OFFENSE IN SUPPORT OF GUILTY PLEA

Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant,
William Vogel, with the concurrence of his attorney, agree and stipulate to the below factual
basis for the defendant’s guilty plea to Count 4 of the Information in the above-captioned matter
— that is, if this case were to go to trial, the Government would prove the following facts beyond
a reasonable doubt:

The Attack at the U.S, Capitol on January 6, 2021

L. The United States Capitol, which is located at First Street, SE, in Washington,
D.C., is secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol
include permanent and temporary security barriers and posts manned by U.S. Capitol Police.
Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol.

2. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.
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3, On January 6, 2021, a joint session of the United States Congress convened at the
U.S. Capitol. During the joint session, elected members of the United States House of
Representatives and the United States Senate were meeting in separate chambers of the United
States Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election,
which had taken place on November 3, 2020. The joint session began at approximately 1:00 p.m.
Shortly thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate
chambers to resolve a particular objection. Vice President Mike Pence was present and
presiding, first in the joint session, and then in the Senate chamber.

4, As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the US.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol Building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the U.S. Capitol Building and the proceedings underway inside.

5. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building, The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the US.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,
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including by breaking windows and by assaulting members of the U.S. Capitol Police, as others
in the crowd encouraged and assisted those acts. The riot resulted in substantial damage to the
Capitol, requiring the expenditure of more than $2.8 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 p.m., members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
’ President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who
had entered the U.S. Capitol without any security screening or weapons check, Congressional
proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,
and the building had been confirmed secured. The proceedings resumed at approximately 8:00
p.m. after the building had been secured. Vice President Pence remained in the United States
Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

William Vogel’s Participation in the January 6, 2021, Capital Riot

8. During the morning of January 6, 2021, DEFENDANT traveled from New York
to Washington, D.C. to participate in the protest occurring that same day in Washington, D.C.

9. While in Washington, D.C., DEFENDANT participated in the riot on the U.S.
Capitol Grounds and inside the U.S, Capitol Building. In fact, shortly after participating in the
riot in Washington, D.C., DEFENDANT posted a story, consisting of videos he took while
participating in the riot on U.S. Capitol Grounds and inside the U.S. Capitol Building, to his

Snapchat account. The videos show multiple people actively damaging scaffolding and police
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barriers on U.S. Capitol Grounds. Thereafter, DEFENDANT entered the U.S. Capitol Building
and moved through various halls and corridors inside the U.S. Capitol Building.

10, DEFENDANT recorded his entrance into the U.S. Capitol Building on his phone.
The video depicts other rioters chanting, “take it back,” and climbing into the U.S. Capitol
Building through broken windows. An alarm is clearly audible.

11. | DEFENDANT remained inside the U.S. Capitol Building for approximately 20
minutes, While inside, DEFENDANT shouted alongside other rioters. DEFENDANT also
hugged and fist bumped other rioters inside the U.S. Capitol Building. While still inside the
building, DEFENDANT was also seen picking up and discarding trash. DEFENDANT was
ultimately escorted out of the U.S. Capitol Building by U.S. Capitol Police Officers.

12. After being escorted out of the U.S. Capitol Building, DEFENDANT remained on
U.S. Capitol Grounds, where he climbed the East steps of the U.S. Capitol Building and waved a
flag containing the words “Trump 2020.” DEFENDANT wore a large red hat and a tan jacket.
DEFENDANT previously posted on Facebook a photo of himself wearing the same large red
hat, which bears the words, “Make America Great Again.” In addition, the FBI recovered the
large red hat and tan jacket from DEFENDANT’s residence and car, respectively, during the
execution of a search warrant,

13. | DEFENDANT also posted on Facebook about participating in the January 6,
2021, riot in Washington, D.C. For instance, on January 7, 2021, DEFENDANT communicated
via his Facebook account with USER 1, DEFENDANT’s Facebook friend, by sending USER | a
video of the riot and occupation of the U.S. Capitol Building. USER | responded that he/she saw

a picture of DEFENDANT “in de” after which the two discussed the events of January 6, 2021.
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14, Also on January 7, 2021, DEFENDANT sent a separate Facebook friend, USER
2, the video he had shared via his Snapchat account. USER 2 asked DEFENDANT, “did you
take that?” DEFENDANT replied, “yes ma’am” and went on to state “So they have these
shadow twitter accounts and they’re trying to report me to the FBI/DOJ and put me away for 10
years for Domestic Terrorism, because of my snapchat story, where I simply walked into the.
lobby of the capital ... And didn’t even film anything crime wise [sic].”

15. | DEFENDANT also communicated with a third Facebook friend, USER 3, about
his participation in the January 6, 2021, riot in Washington, D.C. On January 6, 2021,
DEFENDANT sent USER 3 a message verifying his location in Washington, D.C. After,
DEFENDANT and USER 3 sent multiple messages back and forth, to include DEFENDANT
sending USER 3 the aforementioned video that DEFENDANT shared via his Snapchat account.
In subsequent messages to USER 3, DEFENDANT references “stop the steal 2021” and meeting
“a few Capitol officers.” After, DEFENDANT and USER 3 continue to discuss DEFENDANT’s

involvement during the riot and provide their thoughts on DEFENDANT"s criminal culpability.

Elements of the Offense
16. The information contained in this proffer is not a complete recitation of all the
facts and circumstances, but the parties admit it is sufficient to prove beyond a reasonable doubt
a violation of Title 40, United States Code, Section 5104(e)(2)(G), that is, Parading,
Demonstrating, or Picketing in a Capitol Building, as charged in Count Four of the Information.
Defendant further admits that he paraded, demonstrated, and picketed in a United States Capitol

Building, and that he did so willfully and knowingly.
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DATED: January 23, 2023

Sincerely yours,

By:

MATTHEW M., GRAVES
United States Attorney
D.C. Bar No. 481052

Nkatandur. Diamond
ALEXANDER M. DIAMOND
NY Bar No. 5684634

Assistant United States Attomey
District of Columbia

601 D St. NW, Room 6.3104
Washington, DC 20530

(202) 506-0427
Alexander.Diamond@usdoj.gov

!s/ Zachary Phillips

ZACHARY PHILLIPS

CO Bar No. 31251

Assistant United States Attorney

Capitol Riot Detail

United States Attomey’s Office, Detatlee
1801 California Street, Suite 1600
Denver, CO 80202

Telephone: (720) 281-1611

Zachary. Phillips@usdoj.gov

 
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DEFENDANT’S ACCEPTANCE

The preceding statement is a summary, made for the purpose of providing the Court with
a factual basis for my guilty plea to the charge against me. It does not include all of the facts
known to me regarding these offenses. I made this statement knowingly and voluntarily and
because I am, in fact, guilty of the crimes charged. No threats have been made to me nor am I
under the influence of anything that could impede my ability to understand this Statement of
Offense fully.

1 have read every word of this Statement of Offense. Pursuant to Federal Rule of
Criminal Procedure 11, after consulting with my attorney, I agree and stipulate to this Statement
of Offense, and declare under penalty of perjury that it is true and correct.

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Date: Janstry 22" A043 Ly Miu bee

William Vogel
Defendant

 

ATTORNEY’S ACKNOWLEDGEMENT

T have read this Statement of Offense and reviewed it with my client fully. I concur in
my client's desire to adopt and stipulate to this Statement of Offense as true and accurate.

Date, January 23, 2023

 

Eugene Ohm, Esq.
Counsel for Defendant William Vogel
